Case 1:13-mj-O7497-CWD Do ument 24 Filed 03/25/13 Page 1 of 1
Un1ted tates Courts
J ames A. McClure Federal Bldg & Courthouse
550 W Fort St
Boise,ID 83724

PH; (208) 334-1361
Fsz (208) 334-9362

Elizabeth A. Smith, Court Executive Amy Hickox, Deputy Clerk

 

March 6, 2013

United States Post Offlce
and Courthouse

301 Sir_nonton Street
Key West, FL 33040

 

' Re: Ammon Covino, Christopher Conk, and Idaho Aquarium, Inc.
Southern District of Florida Case No. 12-10020
Idaho ease No. Msl3-15meWD

74‘17

The above named defendants recently appeared on Warrants issued out of your district. I am
enclosing certified copies of the proceedings before Chief United States Magistrate Judge Candy,
W. Dale held in the District of Idaho on 2/21/2013 and 3/1/2013.

Please confirm on the bottom of this letter that you received this paperwork, and return in the
enclosed envelope.

rShould you need further assistance, feel free to ca11 me at (208) 334-9387.
Thank you, __
Amy Hickox

Deputy Clerk

Rule 5(c)(3) documents from the District of Idaho have been received.

dewme ~ -

Deputy Clerk, lSouthern District of Florida -

 

